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                        IN THE UNITED STATED DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

SHARENA COFFIN AND                            §
JOSIE JIMENEZ,                                §              C.A. NO._________________
          PLAINTIFFS,                         §
                                              §
vs.                                           §
                                              §
WALLER INDEPENDENT                            §              JURY TRIAL DEMANDED
SCHOOL DISTRICT,                              §
          DEFENDANT.                          §

                             PLAINTIFFS’ ORIGINAL PETITION

TO THE HONORABLE JUDGE OF THE DISTRICT COURT:

I. Preliminary Statement

      1. This is an employment lawsuit brought for race discrimination under 42 U.S.C. § 2000e,

         the Civil Rights Act of 1964, as amended (Title VII); for hostile work environment,

         retaliation and discrimination brought within the Texas Commission on Human Rights Act

         (ATCHRA”), as amended, Texas Labor Code ' 21.001 and 21.051; and for disability

         discrimination under 42 U.S.C. §12101 (ADAAA), as amended by the Amendments Act

         of 2008.

II. Parties

      2. During all times mentioned in this petition, Plaintiff, Sharena Coffin (“Coffin”), was and

         is still a US citizen and a resident of Harris County, Texas. Coffin is a Black female who

         engaged in protected activity.

      3. During all times mentioned in this petition, Plaintiff, Josie Jimenez (“Jimenez”), was and

         is still a US citizen and a resident of Harris County, Texas. Jimenez is a Hispanic female

         who engaged in protected activity.
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   4. During all times mentioned in the Complaint, Defendant, Waller Independent School

       District (“WISD”), was and is still an employer, engaged in an industry affecting

       commerce. WISD may be served through its Superintendent, Kevin Moran, 2214 Waller

       Street, Waller, Texas, 77484.

III. Jurisdiction

   5. Jurisdiction is invoked pursuant to 42 U.S.C. § 1331. The Right to Sue Notices were sent

       to Jimenez and Coffin from the United States Equal Employment Opportunity Commission

       (AEEOC@) dated on or about July 26, 2018 and July 30, 2018, respectively. All conditions

       precedent to filing this suit have been satisfied.

   6. Declaratory, injunctive, and equitable relief is sought pursuant to federal statute.

   7. Compensatory and punitive damages are sought pursuant to federal statute.

   8. Costs and attorney’s fees may be awarded pursuant to federal statute and Rule 54 of the

       Federal Rules of Civil Procedure.

IV. Venue

   9. This action properly lies in the Southern District of Texas, Houston Division, pursuant to

       28 U.S.C.§ 1391(b) because the unlawful employment practices and other misconduct were

       committed in this judicial district.

V. Factual Statement

   Plaintiff Sharena Coffin

   10. Coffin was employed by WISD in August 2016 as a teacher at Schultz Junior High School

       (“SJHS”). Subsequently, she was promoted to counselor at Waller Junior High School

       (“WJHS”) in July 2017 through June 12, 2018. She had no problems at Schultz and
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   received good performance evaluations. She was interviewed by a panel for the counselor

   position and was chosen to be a counselor at WJHS.

11. In July 2017, Colleen Dale (“Dale”; Caucasian female), became the principal of WJHS.

   At that time Jimenez, had been a counselor at WISD for five (5) years. In or about August

   2017, Coffin asked Dale that she be permitted to shadow Jimenez to learn the WJHS way

   of doing things and to get familiar with her new role as a counselor. Dale denied her the

   opportunity to shadow Jimenez, who at that time had a great reputation as serving as

   counselor at WJHS. Dale would send mixed signals because at times she would tell Coffin

   to get with Jimenez to complete tasks.

12. Coffin began to see what she perceived to be a negative disposition towards Jimenez. For

   example, there were changes to the master schedule that needed to be done. This required

   that the counselors (Coffin and Jimenez) to facilitate the changes for accuracy. During a

   staff training meeting, Dale made a comment regarding inappropriate relationships

   between staff and students. Coffin was baffled by the comment because there had been no

   allegations of this nature while she had been there. Later that day, she learned that Dale

   was referring to a relative of Jimenez’ who was no longer working at the school. The

   comment was inappropriate to Coffin since it had been resolved but it appeared like she

   was attempting to embarrass and humiliate Jimenez, although she had nothing to do with

   the incident.

13. Over the next few months, Coffin noticed a lack of communication by Dale with Jimenez.

   If Dale wanted them to do something, she would leave Jimenez’ name off the email. This

   happened on multiple occasions. Each time, Coffin would forward the emails to Jimenez

   because it concerned information she should know. On multiple occasions Dale had
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   meetings with Coffin and other staff members, and she made comments that Coffin

   believed were demeaning toward Jimenez. For example, Dale said Jimenez was negative

   and that Coffin should refrain from being around her. At this point, Coffin saw nothing

   that Jimenez had said or done that made her think she was negative or a bad influence. It

   was impossible not be around Jimenez because she was the only person in Coffin’s

   department and was informally showing her how things were done at WJHS.

14. Coffin had surgery in June 2017. When she returned to work, she had a prosthetic boot on

   her foot. She told Dale that due to the prosthetic boot, she could not stand for prolonged

   periods of time. Dale commented that if she could not stand for prolonged periods of time,

   then she cannot perform her job duties. She reported the comment to Mike Brooks

   (“Brooks”), HR Director. He said WJHS could make accommodations and that Coffin

   could sit down when needed. There was no response from Dale after speaking to Brooks

   about this issue.

15. In September 2017, Coffin and Jimenez attended a monthly meeting for counselors. They

   received an email from Dale inquiring of their whereabouts and claiming that something

   needed to be done with scheduling. Dale told Coffin and Jimenez to make contact with the

   assistant principal as soon as possible. She made it seem urgent and insinuated that they

   were missing without reason or goofing off on the job. However, the counselors’ meeting

   held over and caused their delay. Coffin replied to the email and told her the meeting had

   lasted longer than expected. She never mentioned anything that needed to be done with

   scheduling, which showed Coffin that Dale was micromanaging their time.

16. Soon after the incident in the previous paragraph, Dale demanded access to Coffin and

   Jimenez’ calendars with details. They complied. However, Dale contradicted this reason
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   by sending emails asking Coffin her whereabouts when the information was already on the

   calendar.

17. In the latter part of September, Dale demanded that Coffin attend a meeting every Monday

   after normal work hours (6:45am to 3:30pm). Coffin was not given sufficient time to make

   daycare arrangements for her son. The first Monday meeting was only two days after she

   gave notice. Coffin asked whether Dale would make the meeting at some time during

   normal work hours, but she refused. Coffin believes that she was made to attend the

   meetings every Monday because Dale knew that Coffin had reported her to Brooks. Often,

   she and Jimenez would show up to the Monday after work meetings only to find that Dale

   had cancelled them or moved the time to a later time. While it was routinely on the

   schedule, they met approximately three times. Coffin felt this was harassment because of

   her affiliation or friendship with Jimenez. However, when Jimenez was removed from

   Coffin’s work assignments, the harassment continued. For instance, Dale started giving her

   assignments to Caucasian employees like Paula Garcia and Sarah Mocha.

18. Coffin learned from her ex-principal at SJHS that Dale was negatively talking about her to

   others outside of WJHS. The harassment and hostility would worsen and frequently Coffin

   was treated differently than others.

19. Jimenez made a complaint against Dale in or about March 2018, and Coffin was called to

   meet with Brooks about the complaint and to speak about her contract for the 2018-2019

   school year. Brooks’ meeting with her was very odd to say the least. He stated he first

   wanted to talk about the complaint and then he wanted talk about her contract for the

   upcoming year. One of his first questions was “Do you think Ms. Dale is a racist?” He

   wrote no notes during the meeting which struck Coffin as odd. She asked him to explain
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   or clarify his question. He then asked, “Have you ever heard her (Dale) make racial

   comments?” She responded, no, but told him that she felt Dale treated Jimenez differently

   than other employees. Then he asked her if she had ever read a book titled “Who Moved

   My Cheese?” She had not. He explained the book and its overall theme of handling changes

   in management in an organization. He followed with the question, “Do you feel Ms.

   Jimenez is struggling with changes within WJHS?” She said no. She felt like he was

   moving her along to go with his theory of what happened between Dale and Jimenez.

   When he finally discussed Coffin’s contract at the end of the meeting, he told her to talk to

   Dale and ensure her that she would be loyal and that she was on her team. Coffin asked

   Brooks what she should do if Dale did not give her confirmation that her contract would

   be renewed. He responded that resignation would be better than a non-renewal. He said if

   she resigned as a counselor, WISD would give her a teaching contract at SJHS. She would

   not agree, because this was a demotion and a drastic cut in pay.

20. By the end of March 2018, teachers and other contract employees were given their renewal

   contracts; however, Coffin was excluded. She kept inquiring about her renewal contract

   but was ignored. In April 2018, Dale (with others present) had a conversation with Coffin

   about her renewal contract. For the first time during the school year, Dale addressed alleged

   deficiencies in Coffin’s work performance. A few days after the meeting, Coffin received

   a long and detailed memo regarding alleged deficiencies that she discussed plus she added

   other alleged incidents that had not been discussed in the meeting. The memo was drafted

   and delivered on Dale’s behalf by Jeffrey Brooks, one of the assistant principals who

   attended the meeting. Coffin hired an attorney to reply to the memo on her behalf. By late

   to mid-May, it was clear to Coffin that she would receive a non-renewal notice. As such,
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   she felt forced to resign or face the fact that she would have to explain the non-renewal to

   other potential employers. Even after she submitted my letter of resignation, the harassment

   continued.

21. Defendant subjected Coffin to a hostile work environment based on her race and disability,

   discriminated against based her race and her close association with Jimenez based on her

   race. She was also retaliated against for supporting a complaint of discrimination and

   harassment made by WISD in violation of Section 1981, Title VII and the ADA/ADAAA.

Plaintiff Josie Jimenez

22. Jimenez was employed by WISD from August 2009 to June 2018. Initially, she was hired

   as a teacher but was promoted to counselor in August 2012. She was assigned as a

   counselor to WJHS in August 2012. From August 2012 to July 2017, she worked at WJHS

   without incident and enjoyed her job. She received above average to outstanding

   performance evaluations. She had never had a problem with her employment contract being

   renewed and had always received the renewal contract in or about March of each school

   year.

23. When Dale was assigned as the principal of WJHS in July 2017, she and Jimenez had a

   introductory telephone conversation. Among other things, Dale asked Jimenez about her

   current job duties. Jimenez told her that the duties had recently changed because the WISD

   wanted to align all middle school procedures for consistency. Dale countered with

   additional duties that Jimenez would be required to do and stated that she wanted to make

   sure that Jimenez was trained in case properly in case she wanted to leave. This was very

   disturbing to her since this was their very first conversation. Jimenez jokingly said, “Are

   you trying to get rid of me?” Dale said no and then moved abruptly to another subject.
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24. In August 2018 during a staff meeting, Dale made a comment regarding inappropriate

   relationships between staff and students. Jimenez knew she was talking about an incident

   involving a relative of hers. Others who had been at the school knew as well because the

   secretary approached her later and stated that she believed the comment was directed at

   her. Jimenez was very embarrassed and humiliated. There was no reason to discuss this

   since the relative was no longer employed by WISD.

25. Prior to Dale being hired into WISD, Jimenez’ office was always located at the main

   campus of the school. In August 2017, Dale relocated her to the east wing of the campus

   with the assistant principals. This was odd because she was separated from Coffin, a first-

   year counselor who was placed the main building office where Dale worked. When

   Jimenez asked Dale about the change, she said there was a possibility that no one would

   be hired as a bilingual assistant for the assistant principals. This was berating and totally

   unwarranted. Jimenez has two master’s degrees and was essentially being forced to do

   secretarial duties in addition to my regular counselor duties. WISD typically offers a yearly

   stipend to employees who are bilingual and serve as translators or interpreters. Jimenez

   requested a stipend but was denied. Regardless, Jimenez was required to interpret or

   translate without the additional pay.

26. In September 2017, Jimenez and Coffin were required to attend a monthly counselors’

   meeting. They received an email from Dale asking them about our their whereabouts and

   claiming that a scheduling matter need to be handled immediately. Jimenez replied by

   email and told her that the monthly district counselors’ meeting had run over and it caused

   them to be later than expected. Dale insinuated that they were missing without reason or

   goofing off on the job. She never mentioned anything about the scheduling matter that
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   initially began her inquiry. At that time, Jimenez believed that Coffin was targeted for

   working closely with her. Jimenez mentioned to the Counselor Coordinator for WISD that

   it was a good idea to make the calendar available, and that it would also help if the

   principals also made their calendars available so that each could know where the other was

   in case of a student, teacher, or parent emergency.

27. Shortly after this request for reciprocity between the counselors and the principals for

   calendars, Dale instructed Jimenez to attend a meeting in September 2017 to discuss her

   concerns about sharing the calendar. Jimenez had no concerns about sharing calendar but

   as previously stated to the Counselor Coordinator, she believed that exchanging calendars

   with principals was a good idea. Dale postponed the meeting until October 2017. Once

   they finally met, Dale told Jimenez that there should not be a struggle between Jimenez,

   Dale, or Dale’s orders. Jimenez denied that there was a struggle and told her that she had

   complied with her request about the calendar. Dales also said that Jimenez was being

   viewed as negative by the staff and should stay away from other staff because they were

   viewed as negative also. She specifically told her to stay away from Richard Forrester,

   who was responsible for testing, 504 plans, and LEP students at WJHS.

28. In October 2017, Dale required Jimenez to be a secretary for the day in the absence of the

   assistant principals’ permanent secretary. During the day, Jimenez was required to answer

   phones, check students in and out of the building, and perform other secretarial duties that

   may have arisen throughout the day.

29. In October 2017, Jimenez was reviewing student test scores and was instructed by Dale,

   through an assistant principal, not to balance classes, but to put students back into their

   original, incorrect placements. This was a blatant violation of District policy. When
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   Jimenez brought this up to the assistant principal, he said it was better for district

   administrators to yell at Dale rather than Jimenez. This placed Jimenez in a very vulnerable

   position.

30. After things continued to escalate with Dale, Jimenez reported her conduct to Brooks in

   October 2017. He told Jimenez to “kill her with kindness,” and “walk to her office and say

   hello every day.” At the end of the conversation, he said “You need to do what you had to

   do.” Jimenez asked about transferring to a new school and the process involved. He said

   transfers had to be approved by both the current and new principal. He said there were no

   openings.

31. There were numerous other incidents of harassment/discrimination/retaliation including

   but not limited to:

       a. A district administrator (in a parental capacity) disputed the PEIMS coding for her

          child and Dale blamed Jimenez for it;

       b. Wrongfully accusing Jimenez of mistranslating or misinterpreting from another

          employee to a parent of a student;

       c. Instructed Jimenez to “find another job” because Dale desired to fill it with others;

       d. Accusations that Jimenez did not relate well to students;

       e. Told to leave if she was unhappy; Jimenez replied that she was not unhappy and

          that she had graduated from Waller High School and was personally connected to

          the school district;

       f. In March 2018, allegations by Dale of job deficiencies that were not true;

       g. Reported harassment again to Brooks about Dale in March 2018;

       h. Finding of “No Harassment” from Dale;
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          i. Failure to give Jimenez a contract renewal in March 2018 when all other employees

              received their contracts;

          j. Told by Brooks that she needed to resign to avoid the negative impact of a non-

              renewal for future employment;

          k. Filed a grievance on the outcome of the investigation and learned that many

              witnesses were not contacted;

          l. Lost confidence in the system and retained counsel;

          m. Forced to resign in lieu of a non-renewal; and

          n. Email from potential employer regarding her employment was ignored by Dale,

              possibly interfering with a future employment.

   32. Defendant discriminated against and harassed Jimenez on the basis of her race and Jimenez

      was retaliated against for reporting racial harassment and discrimination in violation of

      Section 1981, Title VII and TCHRA.

VI. Causes of Action

   33. Plaintiffs’ incorporate, as if re-alleged, paragraphs 1-32.

   34. Because Plaintiffs were harassed, retaliated against and forced to resign (i.e., constructively

      discharged), Defendant has intentionally, maliciously, and willfully violated Title VII and

      Section 1981, as amended.

VII. Prayer for Relief

   35. Wherefore, Plaintiffs’ pray that this Court:

          a. declare the conduct engaged in by Defendant be in violation of Plaintiffs’ rights;

          b. enter judgment against Defendant;

          c. enjoin Defendant from engaging in such conduct;
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          d. order front salary and benefits for the period remaining until normal retirement;

          e. award Plaintiffs equitable relief of back salary and fringe benefits up to the date of

              termination and prejudgment interest for that entire period, or front salary and

              benefits accrual;

          f. award Plaintiffs compensatory damages of $1,000,000.00;

          g. award Plaintiffs costs and attorney’s fees; and

          h. grant such other relief as it may deem just and proper.

VIII. Demand for Jury

   36. Plaintiffs demand a jury trial.


                                                    Respectfully submitted,

                                                    /s/ Victoria Plante-Northington
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